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                                                                         5                                 IN THE UNITED STATES DISTRICT COURT
                                                                         6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         7
                                                                         8    UNITED STATES OF AMERICA,                               No. CR 05-334 SBA
                                                                         9                   Plaintiff ,                              ORDER DIRECTING U.S. MARSHAL TO
                                                                                                                                      ARRANGE FOR NON-CUSTODIAL
                                                                         10     v.                                                    TRANSPORTATION
                                                                         11
United States District Court




                                                                              STEVEN SHELTON, et al.,
                               For the Northern District of California




                                                                         12                  Defendants.
                                                                                                                           /
                                                                         13
                                                                         14          Defendant Steven Shelton, being required to appear in this Court on May 16, 2006, for the

                                                                         15   purpose of pre-trial conference in this matter, and having qualified for legal representation at the

                                                                         16   Government's expense, and good cause appearing therefor,
                                                                         17          IT IS HEREBY ORDERED THAT the United States Marshal for the Northern District of
                                                                         18   California arrange one-way non-custodial air transportation for Mr. Shelton to travel from Oakland,
                                                                         19   California to the Middle District of Florida (Orlando) on May 16, 2006.
                                                                         20          IT IS SO ORDERED.
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                                                                              Dated: 5/16/06
                                                                         22                                                         SAUNDRA BROWN ARMSTRONG
                                                                                                                                    United States District Judge
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